






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00460-CR






Andre Dewayne Giden, Appellant



v.



The State of Texas, Appellee







FROM THE COUNTY COURT AT LAW NO. 2 OF BELL COUNTY


NO. 2C04-02460, HONORABLE JOHN BARINA, JR., JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Following a bench trial, appellant Andre Dewayne Giden was adjudged guilty of
assault with bodily injury and sentenced to 360 days in jail and a $100 fine.  See Tex. Pen. Code
Ann. § 22.01 (West Supp. 2004-05).  Appellant's court-appointed attorney filed a brief concluding
that the appeal is frivolous and without merit.  The brief meets the requirements of Anders v.
California, 386 U.S. 738 (1967), by presenting a professional evaluation of the record demonstrating
why there are no arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988);
High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim.
App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436
S.W.2d 137 (Tex. Crim. App. 1969).  A copy of counsel's brief was delivered to appellant, and he
was advised of his right to examine the appellate record and to file a pro se brief.  No pro se brief
has been filed.

We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted.

The judgment of conviction is affirmed.



				__________________________________________

				Bob Pemberton, Justice

Before Chief Justice Law, Justices B. A. Smith and Pemberton

Affirmed

Filed:   February 3, 2005

Do Not Publish


